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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      WHATSAPP INC., et al.,
                                                                                         Case No. 19-cv-07123-PJH
                                  8                    Plaintiffs,

                                  9              v.                                      ORDER DENYING MOTION TO
                                                                                         SHORTEN TIME
                                  10     NSO GROUP TECHNOLOGIES
                                         LIMITED, et al.,                                Re: Dkt. No. 115
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          Before the court is defendants NSO Group Technologies Ltd. and Q Cyber

                                  15   Technologies Ltd.’s motion to shorten time for deadlines on their motion for protective

                                  16   order. The matter is suitable for decision without oral argument. Having read the parties’

                                  17   papers and carefully considered their arguments and the relevant legal authority, and

                                  18   good cause appearing, the court hereby DENIES defendants’ motion to shorten time.

                                  19          On August 3, 2020, defendants filed a motion for protective order to be heard

                                  20   September 9, 2020. Dkt. 114. The same day defendants filed the present motion to

                                  21   shorten deadlines requesting that plaintiffs WhatsApp Inc. and Facebook Inc. be ordered

                                  22   to respond to defendants’ motion for protective order within four court days and, in the

                                  23   interest of time, defendants would waive any right to file a reply. Dkt. 115 at 3.

                                  24   Defendants state that they are in possession of information that is of considerable

                                  25   importance to the orderly administration of this case and have been in negotiations with

                                  26   plaintiffs to enter a protective order for the purposes of sharing this information. Id.

                                  27   Defendants go on to explain that the parties have been unable to reach an agreement on

                                  28   a protective order, which necessitated the motion for protective order. According to
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                                  1    defendants, plaintiffs will be prejudiced without a protective order because they are

                                  2    continuing to litigate the matter actively without important information. Id.

                                  3           Civil Local Rule 7-2 provides that “[e]xcept as otherwise ordered or permitted by

                                  4    the assigned Judge or these Local Rules . . . all motions must be filed, served and

                                  5    noticed in writing on the motion calendar of the assigned Judge for hearing not less than

                                  6    35 days after filing of the motion.” Civ. L.R. 7-2(a). Local Rule 6-3 governs motions to

                                  7    change time. Among other requirements, the rule provides that a motion to enlarge or

                                  8    shorten time must be accompanied by a declaration that “[s]ets forth with particularity, the

                                  9    reasons for the requested . . . shortening of time; Describes the efforts the party has

                                  10   made to obtain a stipulation to the time change; [and] Identifies the substantial harm or

                                  11   prejudice that would occur if the Court did not change the time . . . .” Civ. L.R. 6-3(a).

                                  12          Plaintiffs oppose the motion to shorten time because defendants have not
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                                  13   established that they will face any substantial harm or prejudice if their motion is denied.

                                  14   Dkt. 118 at 3. The court agrees. Defendants have failed to put forward a particularized

                                  15   showing of good cause for shortening time. Instead, defendants only generally reference

                                  16   that they are in possession of information of “considerable importance to the orderly

                                  17   administration” of the case. Defendants have also failed to identify an impending time-

                                  18   critical event that would necessitate shortening time. Finally, the prejudice defendants

                                  19   describe—not being able to share certain information with plaintiffs and the court—is not

                                  20   tied to the court changing time but to either the parties either agreeing to a protective

                                  21   order or the court granting a motion for protective order.

                                  22          Based on their filings, it appears that the parties have been in negotiations on

                                  23   various drafts of a protective order since July 21, 2020 but have been unable to reach an

                                  24   agreement. Dkt. 115-1, ¶ 4; Dkt. 118-4. In their opposition, plaintiffs request that the

                                  25   court direct the parties to complete their negotiations on a protective order within four

                                  26   days of this order. Dkt. 118 at 3. Such relief is not warranted at this time. The decision

                                  27   to move for, or stipulate to, a protective order is within the parties’ discretion and a court-

                                  28   imposed deadline for negotiations unnecessarily disrupts that discretion. See Fed. R.
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                                  1    Civ. P. 26(c) (“A party or any person from whom discovery is sought may move for a

                                  2    protective order . . . .: (emphasis added)).

                                  3           Exclusive of the present motion, there are five motions currently pending before

                                  4    the court, Dkts. 105, 114, 116, 117, 119, and the court has already adjudicated six

                                  5    substantive motions, see Dkts. 41, 48, 94, 111, as well as several motions to file under

                                  6    seal. Should the parties desire a speedy resolution to at least some of the issues

                                  7    presented by these motions, the court suggests the parties continue to meet and confer.

                                  8    Motions pertaining to briefing schedules, discovery, and protective orders are particularly

                                  9    amenable to resolution by the parties themselves.

                                  10          For the foregoing reasons, the court DENIES defendants’ motion to shorten time.

                                  11          IT IS SO ORDERED.

                                  12   Dated: August 10, 2020
Northern District of California
 United States District Court




                                  13                                                  /s/ Phyllis J. Hamilton
                                                                                      PHYLLIS J. HAMILTON
                                  14                                                  United States District Judge
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